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 1                                                          JUDGE FRANKLIN D. BURGESS
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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT TACOMA
 8
     UNITED STATES OF AMERICA,                   )     NO. CR05-5504FDB
 9                                               )
                    Plaintiff,                   )     AMENDED
10                                               )     ORDER GRANTING STIPULATED
                    vs.                          )     MOTION TO CONTINUE TRIAL
11                                               )     DATE
     WALTER BOYD McILWAIN,                       )
12 et al.,                                       )
                                                 )
13                  Defendants.                  )
14

15           Upon the stipulation of the parties to continue the trial date in the above-
16 captioned case, the Court finds that the ends of justice will be served by ordering a

17 continuance in the case, that continuing the trial date is necessary in order to allow the

18 parties to conduct plea negotiations and to allow defense counsel adequate time to

19 investigate and to effectively prepare for trial, and that these factors outweigh the best

20 interests of the public and the defendant in a more speedy trial; within the meaning of 18

21 U.S.C. §3161(h)(8)(A), therefore,

22           IT IS HEREBY ORDERED that the trial date be continued to March 13, 2006.
23 The period of delay resulting from this continuance from December 5, 2005 up to and

24 including the new trial date of March 13, 2006 is hereby excluded for speedy trial

25 purposes under 18 U.S.C. §3161(h)(8)(A) and (B)

26 //

                                                                           FEDERAL PUBLIC DEFENDER
                                                                                         1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                                Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                           1                                          (253) 593-6710
          Case 3:05-cr-05504-RJB    Document 119          Filed 12/01/05   Page 2 of 2



 1         IT IS FURTHER ORDERED that the motion cutoff date in this matter shall be
 2 continued to January 9, 2006.

 3         DONE this 1st day of December, 2005.
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 9
                                           Franklin D Burgess
10                                         UNITED STATES DISTRICT JUDGE
11 Presented By:

12

13

14 /s/________________________________                /s/_____________________________
15
     Linda R. Sullivan                                Gregory Gruber
16
     Attorney for Defendant                           Assistant United States Attorney
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                                                                       FEDERAL PUBLIC DEFENDER
                                                                                     1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                            Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                       2                                          (253) 593-6710
